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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

DISABILITY RIGHTS OREGON,                         Case No. 3:02-cv-00339-MO (Lead Case)
METROPOLITAN PUBLIC DEFENDER                      Case No. 3:21-cv-01637-MO (Member Case)
SERVICES INC., and A.J. MADISON,

               Plaintiffs,
                                                  UNOPPOSED MOTION FOR TO EXTEND
       vs.                                        REMEDIAL ORDER

DAVID BADEN, in his official capacity as
head of the Oregon Health Authority, and
DOLORES MATTEUCCI, in her official
capacity as Superintendent of the Oregon
State Hospital,

               Defendants,

       and

JAROD BOWMAN, JOSHAWN
DOUGLAS-SIMPSON,

                Plaintiffs,
 MOTION TO EXTEND REMEDIAL ORDER - 1                            LEVI MERRITHEW HORST PC
 (Case No. 3:02-cv-00339-MO)                                    610 SW ALDER ST. SUITE 415
                                                                    PORTLAND, OR 97205
                                                              T: 971.229.1241 | F: 971.544.7092
DOLORES MATTEUCCI, Superintendent of
the Oregon State Hospital, in her individual
and official capacity, DAVID BADEN,
Director of the Oregon Health Authority, in
his official capacity, and PATRICK ALLEN
in his individual capacity,                          Case No. 3:21-cv-01637-MO (Member Case)

                Defendants,



                                        LR 7-1 Certification

       Undersigned counsel for the Plaintiffs hereby certifies that Plaintiffs have conferred with

counsel for Defendants prior to bringing this motion. Counsel for Defendants does not oppose

this motion. Counsel for Plaintiffs also contacted counsel for all amici to let them know that he

would be filing this motion. Counsel for Marion County indicated that they may want to file a

response and indicated they could do so by January 22, 2024.

                                               Motion

       Plaintiffs hereby move this Court for an order extending the current remedial order (Dkt.

No. 416) for a period of one year. That order expires on December 31, 2023 “unless renewed by

the Court prior to that time.” Id. at 8. Plaintiffs request that the Court renew the order

immediately and consider any opposition by amici to the extension in due time.

                                           Memorandum

       This Court’s remedial order is working as intended. It has significantly reduced wait

times and allowed the Defendants to return to compliance with the permanent injunction for the

first time in several years. However, as explained in Dr. Pinal’s Eighth Report to this Court, that

compliance remains tenuous. If the Court were to lift the remedial order, the Defendants would

almost immediately fall back out of compliance. Therefore, the order remains necessary to

 MOTION TO EXTEND REMEDIAL ORDER - 2                                  LEVI MERRITHEW HORST PC
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ensure compliance with this Court’s permanent injunction, and this Court remains empowered to

extend it. Stone v. City & County of San Francisco, 968 F.2d 850, 856 (9th Cir. 1992).

          This Court should extend the order for one year for the reasons stated in Dr. Pinal’s

report.



          DATED this 20th day of December, 2023.

                                                       LEVI MERRITHEW HORST PC

                                                       /s Jesse Merrithew
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                                                       Defender, Jarrod Bowman, and Joshawn
                                                       Douglas-Simpson


                                                       DISABILITY RIGHTS OREGON

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                                                       Oregon




 MOTION TO EXTEND REMEDIAL ORDER - 3                                  LEVI MERRITHEW HORST PC
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